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                          IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                 CIVIL NO: _______________



DEBORAH SINGLETON,                                             Plaintiff

vs.



GC SERVICES, LP                                                Defendant
Serve: GC Services, LP
6330 Gulfton Street
Houston, TX 77081

* * * * * * * *

         NOW COMES Plaintiff, DEBORAH SINGLETON, by and through her attorneys, KROHN

         &MOSS, LTD., and for her Complaint against Defendant, GC SERVICES, LP, alleges

         and affirmatively states as follows:

                                          INTRODUCTION

      1. Count I of Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act, 15

         U.S.C. § 1692 et seq. (“FDCPA”).

                                                PARTIES

      2. Plaintiff, DEBORAH SINGLETON (“Plaintiff”) is an individual who was at all times

         relevant to his residing in the Versailles, Woodford County, Kentucky.

      3. Plaintiff is a consumer as that term is defined by 15 U.S.C. § 1692a(3), and according to

         Defendant, Plaintiff allegedly owes a debt as that term in defined by 15 U.S.C. §

         1692a(5).

      4. Defendant is a debt collector as defined by 15 U.S.C. § 1692a(6), and sought to collect a

         consumer debt from Plaintiff.
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5. Defendant is a debt collector located in Houston, TX

6. Defendant has acted though its agents, employees, officers, members, directors, heirs,

   successors, assigns, principals, trustees, sureties, subrogees, representatives and insurers.

                            JURISDICTION AND VENUE

7. Jurisdiction of this court arises pursuant to 15 U.S.C. § 1692k(d), which states that such

   actions may be brought and heard before “any appropriate United States district court

   without regard to the amount in controversy,” and 28 U.S.C. 1367 grants this court

   supplemental jurisdiction over the state claims contained herein.

8. Defendant conducts business in the State of Kentucky; therefore, personal jurisdiction is

   established.

9. Venue is proper under 28 U.S.C. § 1391(b)(2).

                                  FACTUAL ALLEGATIONS


10. In or around December of 2013, Defendant placed collection calls to Plaintiff seeking and

   demanding payment for an alleged consumer debt.

11. Plaintiff's alleged debt arises from transactions for personal, family, and household

   purposes.

12. Defendant called Plaintiff's telephone number at 859-873-91XX.

13. In or around December of 2013, Defendant called Plaintiff and left a voicemail message

   for Plaintiff. See transcribed voicemail message attached hereto as Exhibit A.

14. In the voicemail message, Defendant failed to meaningfully disclose the company's

   name, failed to disclose that the call was being placed by a debt collector, and failed to

   disclose that the call was being placed to collect an alleged debt. See Exhibit A.
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15. In the voicemail message, Defendant directed Plaintiff to call back telephone number

   859-904-1176, which is a number that belongs to Defendant. See Exhibit A.

16. Defendant is using false, deceptive and misleading means in connection with attempting

   to collect a debt by not identifying the purpose of its phone calls or that they are an

   attempt to collect a debt.

                             COUNT I
    DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT


17. Defendant violated the FDCPA based on the following:

       a. Defendant violated §1692d of the FDCPA by engaging in conduct the natural

           consequence of which is to harass, oppress, or abuse Plaintiff;

       b. Defendant violated §1692d(6) of the FDCPA by placing collection calls to

           Plaintiff without meaningful disclosure of the caller’s identity.

       c. Defendant violated § 1692e of the FDCPA by using false, deceptive or

           misleading representations or means in connection with the collection of the

           debt;

       d. Defendant violated § 1692e(10) of the FDCPA by using deceptive means in an

           attempt to collect a debt;

       e. Defendant violated § 1692e(11) of the FDCPA by failing to disclose in its

           communications with Plaintiff that the communication was from a debt collector.

                                    PRAYER FOR RELIEF

   WHEREFORE, Plaintiff, DEBORAH SINGLETON, respectfully requests judgment be

   entered against Defendant, GC SERVICES, LP, for the following:
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18. Declaratory judgment that Defendant’s conduct violated the Fair Debt Collection

   Practices Act;

19. Statutory damages pursuant to the Fair Debt Collection Practices Act, 15 U.S.C. §1692k;

20. Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection Practices Act,

   15 U.S.C. §1692k;

21. Any other relief that this Honorable Court deems appropriate.



   DATED: May 8, 2014                            Respectfully Submitted,

                                                 DEBORAH SINGLETON



                                         By: /s/Shireen Hormozdi
                                                Shireen Hormozdi
                                                Attorney for Plaintiff
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